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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Jeffrey Loch,
                                                        Case No.: 0:21-cv-2582
       Plaintiff,
v.
                                                             COMPLAINT

Wells Fargo Bank, N.A.,                               JURY TRIAL DEMANDED

       Defendant.


                                   INTRODUCTION

1.    Congress has found that the primary purpose of the Electronic Fund Transfers Act

      is “to provide a basic framework establishing the rights, liabilities, and

      responsibilities of participants in electronic fund and remittance transfer systems.

      The primary objective of this subchapter, however, is the provision of

      individual consumer rights.”

2.    This action arises out of violations of the Electronic Fund Transfers Act (“EFTA”)

      15 U.S.C. § 1693 et seq. and its implementing Regulation E, by Defendant and its

      agents in their illegal transfers of funds from Plaintiff’s bank account.

3.    Plaintiff seeks actual damages, statutory damages, costs and attorney fees.

                                     JURISDICTION

4.    Jurisdiction of this Court arises under 15 U.S.C. § 1693m and under 28 U.S.C. §

      1367 for pendant state law claims.

5.    Venue is proper because the acts and transactions occurred here, Plaintiff resides



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      here, and Defendant transacts business here.

6.    Defendant has transacted business within the State of Minnesota by providing

      banking services to Plaintiff via the mails, telephone, and internet while Plaintiff

      was located within and permanently residing within the State of Minnesota.

                                        PARTIES

7.    Plaintiff Jeffrey Loch (hereinafter “Plaintiff”) is a natural person who resides in the

      City of Richfield, County of Hennepin, State of Minnesota, and a “consumer” as

      that term is defined by 15 U.S.C. § 1693a and 12 CFR § 1005.2(e).

8.    Plaintiff has suffered an injury in fact that is fairly traceable to Defendant’s conduct

      and that is likely to be redressed by a favorable decision in this matter.

9.    Defendant Wells Fargo Bank, N.A. (hereinafter “Defendant”) is a national bank and

      a covered “financial institution” under EFTA 15 U.S.C. § 1693a(9), with a principal

      of business located at 1 Montgomery St 2nd Fl, San Francisco, CA 94104-4505, and

      with a registered agent of process named Corporation Service Company located at

      2345 Rice Street, Suite 230, Roseville, MN 55113, and is an entity covered by 15

      U.S.C. § 1693 and under Regulation E, 12 C.F.R 1005.2.

                             FACTUAL ALLEGATIONS

10.   Within one year immediately preceding the filing of this complaint, Defendant

      initiated and/or attempted to initiate certain electronic funds transfers from

      Plaintiff’s bank accounts to unknown third-party identity thieves, which were

      “electronic funds transfers” as that term is defined by 15 U.S.C. § 1693a(7).

11.   Defendant holds accounts belonging to Plaintiffs and has issued access devices with


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      an explicit agreement to perform electronic funds transfers and therefore it is also a

      covered “person” under EFTA. Reg. E, 12 C.F.R. § 1005.2(i).

12.   On or about August 27, 2021, unknown identity thieves fraudulently obtained

      certain electronic access devices from Plaintiff through the use of fraud and artifice,

      posing as Defendant’s security employees in telephone calls and text messages, in

      order to later initiate a series of fraudulent electronic fund transfers from Plaintiff’s

      accounts with Defendant, and which such transactions were subject to Regulation E

      and EFTA. See 12 C.F.R. § 1005.3(b).

13.   Plaintiff did not authorize or benefit from these fraudulent transfers from his

      accounts at Defendant’s bank.

14.   Immediately upon discovering these fraudulent transfers, and within approximately

      an hour of the fraudulent transfers, Plaintiff alerted the security department at

      Defendant’s 800-number.

15.   In fact, Plaintiff alerted Defendant’s security employees of the fraud when they

      actually called his cell phone to alert Plaintiff of the fraud while it was taking place

      on August 27, 2021 between 1:32 p.m. and 2:45 p.m.

16.   Despite the fact that Defendant knew these transfers between and out of Plaintiff’s

      accounts were fraudulent, and that it called Plaintiff when he was on the phone with

      the fraudster to tell him that a total of $15,000.00 had been wired from his accounts

      to another account in Houston, Texas and wanted to confirm that he had intended to

      transfer that large of an amount, Defendant nevertheless allowed the fraudulent




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      transfers to go through from Plaintiff’s personal checking and savings accounts at

      Defendant’s bank.

17.   Later that evening, after a long day delivering COVID-19 vaccinations and filling

      hundreds of prescriptions for patients as a busy pharmacist, Plaintiff came home to

      discover $15,000 missing from his accounts at Defendant’s bank and that Defendant

      had failed to stop the transactions even though it had itself detected this fraudulent

      activity.

18.   Plaintiff immediately re-contacted Defendant to report the fraudulent access and

      unauthorized transfers from his bank account at Defendant’s bank.

19.   Defendant took a report of Plaintiff’s fraud claims and told him that it would conduct

      an investigation.

20.   On August 30, 2021, Plaintiff called and spoke with the Richfield, Minnesota police

      department and filed a criminal complaint over these fraudulent transfers, a true and

      copy of which is attached as Exhibit A.

21.   Despite having timely reported these fraudulent transfers totaling $15,000, and the

      Defendant itself being aware that they were fraudulent transfers, Defendant has

      refused to return the funds from these fraudulent transfers.

22.   Plaintiff has suffered actual and concrete harm as a result of Defendant’s violations

      of Reg E. and EFTA because he has been wrongfully deprived of his funds and

      Defendant’s misconduct has caused his personal budget to be thrown into disarray.




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23.   Plaintiff explicitly told Defendant’s security employees that he did not authorize the

      Defendant’s electronic fund transfers made to his checking and savings accounts

      and that he disputed those charges.

24.   Plaintiff timely disputed this unauthorized electronic funds transfers totaling

      $15,000 from his account by telephone to Defendant on or about August 28, 2021,

      and repeatedly thereafter.

25.   In addition, Plaintiff disputed these fraudulent transfers from his bank accounts

      totaling $15,000 by letter to Defendants’ multiple fraud department addresses, a true

      and copy of which is attached hereto as Exhibit B.

26.   To date, Plaintiff’s demands that these $15,000 of unauthorized transfers from his

      bank accounts be returned to his accounts have been flatly rejected by Defendant,

      which in one correspondence on September 2, 2021, stated in pertinent part:

             We have completed our research of your recent inquiry about an
             unauthorized wire transfer request initiated through online banking for
             $15,000.00 on 08/27/2021. Our research revealed the wire transfer was
             requested through an online banking session using your username and
             password. After reviewing all the information available to us regarding the
             transaction you are disputing, we have determined that the transaction was
             performed by you, or someone who had your authorization.

             As a courtesy, we initiated a wire recall on your behalf to attempt recovery
             of the funds. Unfortunately, the beneficiary bank responded that there were
             no funds available to return. As a result, we are unable to reimburse you and
             have closed your claim.

      A true and correct copy of this letter is attached hereto as Exhibit C.




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                    Violations of the Electronic Fund Transfers Act

27.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

28.   Defendant failed to obtain authorization from the Plaintiff for these electronic fund

      transfers, as required by, and in violation of, Reg. E and EFTA. See 12 C.F.R. §

      1005.10(b).

29.   Defendant made multiple electronic fund transfers from Plaintiff’s bank account in

      the last year immediately preceding the filing of this lawsuit, within the meaning of

      Regulation E and EFTA, without having first complied with the requirements of

      those federal laws. See 15 U.S.C. § 1693 and 12 C.F.R. § 1005.10.

30.   Defendant’s failure to obtain Plaintiff’s authorizations required by the EFTA, prior

      to instituting multiple electronic fund transfers from Plaintiff’s bank account,

      constitute multiple violations of the EFTA, 15 U.S.C. § 1693.

31.   Defendant engaged in numerous unfair acts and practices by withdrawing payments

      and withdrawing payments in variable amounts from Plaintiff’s bank account

      without a valid authorization and transmitting those funds to an unknown fraudster,

      and thereafter refusing to return these fraudulently transferred funds, in violation of

      the Electronic Funds Transfer Act (EFTA), 15 U.S.C. §1693e(a) and (b), and

      Regulation E, 12 C.F.R. § 1005.10(b) and (d).

                Rules for Dispute Resolution Under EFTA and Reg. E.

32.   Under Regulation E, if a consumer like the Plaintiff alleges that there has been an

      unauthorized transfer from his account, the financial institution must investigate and


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      determine if the allegation is true, correcting any unauthorized transfer that

      occurred. If that financial institution is unable to complete its investigation within

      ten days, it must provisionally re-credit the consumer’s account while it completes

      its investigation. Reg. E, 12 C.F.R. § 1005.11(c)(2).

33.   If a consumer alleges that an EFT is unauthorized, the burden of proof is on the

      financial institution to show that it was authorized or that the conditions for

      consumer liability have been met. 15 U.S.C. § 1693g(b). See Pace v. Gulf Coast

      Bank & Tr. Co., 2014 WL 4657482 (La. Ct. App. Sept. 17, 2014) (“Ms. Pace had a

      duty to notify the Bank of any errors or unauthorized ATM transactions within 60

      days after receiving documentation of the electronic transfer. Thereafter, the burden

      of proof is on the Bank to prove that the debits were authorized and that the loss

      would not have occurred but for her failure to report Mr. McCray’s transfers within

      sixty days of transmittal of her periodic statement.”).

34.   Any person (not only a financial institution) who fails to comply with any EFTA

      provision is liable under 15 U.S.C. § 1693m for the sum of:


             (1) Any actual damage sustained by the consumer;

             (2) Statutory damages in an individual case of not less than $100 nor greater
             than $1000 or, in a class action, such amount as the court may determine,
             with a maximum of the lesser of $500,000 or 1% of the Defendant’s net
             worth; and

             (3) The costs of the lawsuit together with reasonable attorney fees.

      15 U.S.C. § 1693m(a).

35.   A second special EFTA remedy provision makes a financial institution liable for



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      treble damages under 15 U.S.C. § 1693f(e) if it did not provisionally re-credit a

      consumer’s account within ten days after receiving the consumer’s notice of an error

      and either 1) did not conduct a good faith investigation or 2) did not have a

      reasonable basis for believing the consumer’s account was not in error. 15 U.S.C. §

      1693f(e)(1).

36.   The financial institution is also liable for treble damages if it knowingly and

      willfully concluded that the consumer’s account was not in error when it had no

      reasonable basis for that determination. 15 U.S.C. § 1693f(e)(2).

37.   Pursuant to 15 U.S.C. § 1693f(a)(3), upon notice of a dispute from a consumer, a

      financial institution is under an obligation to investigate the nature of the dispute

      and report back to the consumer the results of the investigation.

              Untimely Investigation of Plaintiff’s Dispute Under EFTA

38.   Upon receiving notice of a disputed electronic funds transfer, a financial

      institution: “Shall investigate promptly and … shall determine whether an error

      occurred within 10 business days of receiving a notice of error. The institution shall

      report the results to the consumer within three business days after completing its

      investigation. The institution shall correct the error within one business day after

      determining that an error occurred.” 12 C.F.R. § 205.11(c)(1).

39.   A financial institution may also take up to 45 days to conduct its error investigation,

      provided that it “[p]rovisionally credits the consumer’s account in the amount of the

      alleged error (including interest where applicable) within 10 business days of

      receiving the error notice.” 12 C.F.R. § 205.11(c)(2)(A).


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40.   In response to a dispute from Plaintiff, Defendant failed to conduct a good faith

      investigation within (10) business days in compliance with 15 U.S.C. § 1693f(a)(3)

      and failed to timely mail the results of that investigation to Plaintiff within (3)

      business days, as required by EFTA.

41.   Defendant failed to conduct a timely good faith investigation into the reported errors

      made by Plaintiff, because it was already well aware by its own conduct that these

      fraudulent transfers from Plaintiff’s account were in fact fraudulent.

42.   On August 27, 2021, Defendant’s fraud department called Plaintiff to determine

      whether or not Plaintiff had actually intended to transfer these funds from his bank

      accounts—itself recognizing that these transactions were fraud.

43.   Defendant also took immediate actions on August 27, 2021, after Plaintiff reported

      the fraudulent transfers, to close both Plaintiff’s checking and savings accounts and

      open new accounts for him with new account numbers, thus establishing beyond

      any doubt that Defendant was aware that Plaintiff was a victim of identity theft and

      fraud and that these transfers totaling $15,000 were fraudulent.

44.   Defendant also acknowledged in its September 2, 2021, letter to Plaintiff, Exhibit

      C, that it was aware that these $15,000 in funds were an unauthorized transfer and

      it even attempted to get them back from the Houston, Texas that had apparently

      received them.

45.   On August 27, 2021, Defendant was well aware that these transfers were

      unauthorized and fraudulent, but nevertheless, five days later on September 2, 2021,

      blamed Plaintiff in bad faith, accusing him of either transferring this $15,000


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      himself or authorizing the fraudulent transfers without a shred of evidence to

      support that defamatory assertion.      See Exhibit C (“After reviewing all the

      information available to us regarding the transaction you are disputing, we have

      determined that the transaction was performed by you, or someone who had your

      authorization.”)

46.   Defendant knew that the statement it made victim-blaming Plaintiff for the loss of

      his $15,000 was false and had no basis in any fact or evidence.

47.   Upon information and belief, Defendant did not speak with the Richfield Police

      Department about Plaintiff’s criminal complaint; did not interview any witnesses

      other that brief conversations with Plaintiff; did not send any investigators or branch

      personnel to Plaintiff’s home or work; did not ask for a personal interview with

      Plaintiff at a branch location; did not seek to meet with Plaintiff to explore the

      circumstances around the loss of his $15,000; and did not do any other type of

      research or good faith investigative whatsoever before making its unilateral

      determination that Plaintiff had made these fraudulent transfers himself, or

      authorized another person to make them.

48.   Despite the fact that Defendant had up to 45 days to conduct a proper, fulsome, and

      good faith investigation of the circumstances surrounding the unauthorized transfers

      of this $15,000 in funds, Defendant instead simply sent out a form letter making a

      groundless blanket denial of Plaintiff’s report of unauthorized claims. Exhibit C.

49.   Defendant failed to correct the alleged errors within the timelines outlined in Reg.

      E. and therefore was obligated to provisionally credit Plaintiff’s account but failed


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      to do so.

               Improper Investigation of Plaintiff’s Dispute Under EFTA

50.   Defendant did nothing in good faith to investigate his claim of fraud.

51.   Defendant also did not provisionally recredit Plaintiff’s account while it was

      undertaking its improper investigation into Plaintiff’s dispute.

52.   Defendant had no reasonable basis to conclude that an error in fraudulently

      transferring these funds on Plaintiff’s account and that the $15,000 fraudulent

      withdrawals did not belong to him, as he had reported to the Richfield, Minnesota

      Police Department within a few days after he discovered his bank accounts with

      Defendant had been illegally accessed.

53.   Plaintiff told Defendant repeatedly about his police report and criminal complaint

      made about this theft and Defendant nevertheless failed to undertake any good faith

      investigation or provide him with a provisional recrediting of his account.

54.   There was more than enough information available to Defendant’s investigators

      Plaintiff to confirm that he was a victim of fraud.

55.   Pursuant to 15 U.S.C. § 1693f(d), if a financial institution determines after

      conducting an investigation that an error did not occur, it must, upon receipt of a

      request from the consumer, promptly deliver to the consumer reproductions of all

      documents with the financial institution relied on to conclude that such error did not

      occur.

56.   Plaintiff requested all documents that Defendant had relied upon during its

      investigation, but Defendant never provided him with any such documents.


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57.   Defendant received oral and written notice of Plaintiff’s dispute of an erroneous and

      fraudulent payment by Defendant from Plaintiff’s account for $15,000 and therefore

      received sufficient information to identify Plaintiff by name and identify by number

      Plaintiff’s account with Defendant.

58.   Within ten (10) business days of receiving written notice of his dispute, Defendant

      was under an affirmative obligation to investigate the dispute from Plaintiff,

      determine whether an error had occurred, and report or mail the results of such an

      investigation and determination to Plaintiff.

59.   Alternatively, if within ten (10) business days of receiving written notification of

      Plaintiff’s dispute, Defendant had provisionally recredited Plaintiff’s account with

      the funds relative to the amount alleged to be in dispute, then Defendant would have

      had forty-five (45) days to complete its good faith investigation into Plaintiff’s

      dispute and to report or mail the results of such an investigation and determination

      to Plaintiff.

60.   Under EFTA, if a financial institution like Defendant, after conducting an

      investigation into a dispute by a Plaintiff, determines that an error did not occur, it

      must deliver or mail to the consumer an explanation of its findings within three (3)

      business days after the conclusion of its investigation, yet Defendant failed to do so

      because it did not conduct a good faith investigation as required by EFTA.

61.   Plaintiff never provided any person with permission, consent or authority to debit

      the fraudulent $15,000 funds from Plaintiff’s accounts with Defendant.

62.   Plaintiff never authorized the debits of the fraudulent funds from Plaintiff’s account


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       with Defendant.

63.    Defendant has not conducted a good faith or reasonable investigation into the

       disputed $15,000 in funds fraudulently taken from by Defendant.

64.    To date, Defendant has not issued Plaintiff a credit for the $15,000 of fraudulently

       transferred funds from Plaintiff’s account with Defendant.

65.    Presently, Plaintiff remains without the $15,000 in funds debited from Plaintiff’s

       account with Defendant without his knowledge, authorization, or benefit.

66.    Defendant’s affirmative conduct, and omissions, as more fully described herein,

       were done in violation of 15 U.S.C. §1693f(a)(3).

67.    Defendant’s conduct, as delineated above, is in violation of 15 U.S.C. §1693f(d).

68.    Defendant’s conduct, as delineated above, is in violation of 15 U.S.C. §1693f(e)(1).

69.    As a result of Defendant’s violations of EFTA, Plaintiff has suffered, and continues

       to suffer mental anguish, emotional distress, and out-of-pocket damages.

70.    The loss of these funds for several months has placed an extreme financial burden

       on Plaintiff and made keeping current on his bills more difficult.

      Transfers Made Through Fraud Are “Unauthorized Transfers” Under EFTA

71.    The Official Staff Interpretations of the EFTA specifically state that victims of

       robbery or fraud who have their funds fraudulently transferred are not liable for

       those transfers under EFTA because they are “unauthorized” funds transfers:

                             2(m) Unauthorized Electronic Fund Transfer
              …
              3. Access device obtained through robbery or fraud. An unauthorized EFT
              includes a transfer initiated by a person who obtained the access device
              from the consumer through fraud or robbery.


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      12 C.F.R. § Pt. 205, Supp. I., section 2(m)(3) (bold added).

72.   A federal court in this district rejected Defendant’s approach to denying EFTA

      liability to a customer whose funds were taken by the fraudulent use of an access

      device to make transfers out of his bank account:

             In other words, Kubrom would have had to steal the ATM card and pin
             number. While TCF may well successfully challenge this version of events
             at trial, this Court simply cannot conclude that it constitutes the “furnishing”
             of an individual's account information as a matter of law. To reach that
             conclusion here, the Court would have to interpret the EFTA to limit the
             liability of a financial institution in cases of theft, a reading which finds
             no support in the statutory text quoted above and is rejected in the Code
             of Federal Regulations. See 12 C.F.R. pt. 205, supp. I, section 2(m)(3) (“An
             unauthorized EFT includes a transfer initiated by a person who obtained the
             access device from the consumer through fraud or robbery.”). Accordingly,
             TCF's motion for summary judgment is denied to the extent that it seeks
             judgment on Rusthoven's EFTA claim.

      Rusthoven v. TCF Nat. Bank, No. CIV 07-3154 JRT-JJK, 2009 WL 2171105, at *3

      (D. Minn. July 20, 2009) (bold underline added).

      Defendant’s Past Conduct Toward Its Customers Warrants Treble Damages

73.   Defendant is no stranger to regulatory action against it for this kind of mistreatment

      of consumers, like Plaintiff, given that there are at least 10 consent decrees currently

      in place by the Federal Reserve, Office of the Comptroller of the Currency, and the

      Consumer Financial Protection Bureau for Defendant’s marketplace misconduct.

      https://www.fool.com/investing/2021/10/10/a-guide-to-all-of-wells-fargos-

      consent-orders/, last accessed November 13, 2021.

74.   Ironically, Defendant was hit with regulatory actions and class actions for its anti-

      consumer practices in selling banking customers identity theft protection that they


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      never received:

             Wells Fargo & Co. will refund tens of millions of dollars to customers who
             paid for identity-theft protection, pet insurance and other add-on services
             offered by the bank, the Wall Street Journal reported Thursday.

             The San Francisco bank has been looking into problems with add-on
             products since the summer of 2015, when regulators slapped Wells Fargo
             with a consent order saying some customers had paid for identity theft and
             credit-monitoring services they never received.

      “Report: Wells Fargo will pay millions in refunds for pet insurance, other add-on

      products,” July 19, 2018, available at https://www.latimes.com/business/la-fi-wells-

      fargo-refunds-20180719-story.html, last accessed November 13, 2021.

75.   Defendant’s treatment of Plaintiff is even less surprising given that last year

      Defendant settled its civil and criminal liability in federal court for engaging in a

      pandemic of its own fraud and identity theft of its own customers between 2002 and

      2017, and paying a $3 billion dollar fine:

             Wells Fargo, the nation's fourth-largest bank, agreed Friday to pay a $3
             billion fine to settle a civil lawsuit and resolve a criminal prosecution filed
             by the Justice Department over its fake account scandal.

             Under pressure to meet sales quotas, bank employees opened millions of
             savings and checking accounts in the names of actual customers, without
             their knowledge or consent. Since the fraud became public in 2016, the bank
             has faced a torrent of lawsuits. The scheme lasted more than a decade, Justice
             Department officials said, and was carried out by thousands of Wells Fargo
             employees.

             “This settlement holds Wells Fargo accountable for tolerating fraudulent
             conduct that is remarkable both for its duration and scope and for its blatant
             disregard of customer private information," said Michael Granston of the
             Justice Department's Civil Division.
             …



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             As part of the settlement, Wells Fargo admitted that employees were
             pressured to sell large volumes of new products to existing customers as a
             way of generating more business, often with little regard for a customer's
             actual needs. Bank employees began calling the practice "gaming," and
             it included opening accounts without a customer's knowledge, issuing
             credit and debit cards, and moving money from existing accounts to the
             fraudulently opened ones.

             As part of Friday's settlement, the Justice Department agreed not to
             criminally prosecute the bank during the three-year term of the agreement,
             provided that Wells Fargo continues to cooperate with government
             investigations.

             The agreement was reached with the bank itself, not with any individuals
             responsible for the fraud. But last month, the bank's former chief executive,
             John Stumpf, was fined $17.5 million by the Office of the Comptroller of the
             Currency for his role in the scandal. Other former bank executives were hit
             with smaller fines.

      “Wells Fargo to pay $3 billion over fake account scandal” available at

      https://www.nbcnews.com/news/all/wells-fargo-pay-3-billion-over-fake-account-

      scandal-n1140541, last accessed November 13, 2021 (bold added).

76.   According to the United States Department of Justice, Defendant engaged in

      “gaming” that involved stealing thousands of consumers’ identities, opening

      fraudulent accounts in their names, and moving their money around without their

      consent in order to drive sales:

             Many of these practices were referred to within Wells Fargo as
             “gaming.” Gaming strategies varied widely, but included using existing
             customers’ identities – without their consent – to open checking and savings,
             debit card, credit card, bill pay and global remittance accounts. From 2002
             to 2016, gaming practices included forging customer signatures to open
             accounts without authorization, creating PINs to activate unauthorized debit
             cards, moving money from millions of customer accounts to
             unauthorized accounts in a practice known internally as “simulated
             funding,” opening credit cards and bill pay products without authorization,
             altering customers’ true contact information to prevent customers from


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             learning of unauthorized accounts and prevent Wells Fargo employees from
             reaching customers to conduct customer satisfaction surveys, and
             encouraging customers to open accounts they neither wanted or needed.

      https://www.justice.gov/opa/pr/wells-fargo-agrees-pay-3-billion-resolve-criminal-

      and-civil-investigations-sales-practices, last accessed November 13, 2021 (bolded

      added).

                                        Summary

77.   The above-described conduct by Defendant in making its fraudulent electronic fund

      transfers from Plaintiff were oppressive, deceptive, misleading, unfair and illegal

      conduct, all done in violation of numerous and multiple provisions of the Reg. E

      and EFTA.

78.   These actions taken by Defendant, and the employees employed by Defendant, were

      made in violation of multiple provisions of the Reg. E and EFTA, including but not

      limited to all of the provisions of those laws cited herein.

79.   These violations by Defendant were knowing, willful, negligent and/or intentional,

      and Defendant did not maintain procedures reasonably adapted to avoid any such

      violations.

80.   Defendant’s conduct with respect to these unauthorized electronic fund transfers

      caused Plaintiff to suffer concrete and particularized harm because the Reg. E and

      EFTA provide Plaintiff with the legally protected right to be treated fairly and

      truthfully with respect to any electronic fund transfers.

81.   Defendant’s deceptive, misleading and unfair representations with respect to its

      electronic fund transfers were material misrepresentations that affected and


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      frustrated Plaintiff’s ability to intelligently respond to Defendant’s electronic fund

      transfers because Plaintiff could not adequately respond to the Defendant’s conduct

      in violation of Reg. E and EFTA.

                              Respondeat Superior Liability

82.   The acts and omissions herein of the individuals employed by Defendant, and the

      other individuals employed as agents of Defendant as further described herein, were

      committed within the time and space limits of their agency relationship with their

      principal, Defendant.

83.   The acts and omissions by these individuals were incidental to, or of the same

      general nature as, the responsibilities these agents were authorized to perform by

      Defendant.

84.   By committing these acts and omissions against Plaintiff, these individuals were

      motivated to benefit their principal, Defendant.

85.   Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in

      violation of state and federal law by its employees, including but not limited to

      violations of the Reg. E and EFTA and state law.

                                   TRIAL BY JURY

86.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

      so triable.

                                CAUSES OF ACTION

                                       COUNT I.


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  VIOLATION OF THE ELECTRONIC FUND TRANSFER ACT AND REG. E

                     15 U.S.C § 1693 et seq. and 12 C.F.R § 205 et seq.

87.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

88.   The foregoing intentional and negligent acts and omissions of Defendant constitutes

      numerous and multiple violations of EFTA and Regulation E including, but not

      limited to, each and every one of the above-cited provisions of EFTA, 15 U.S.C. §

      1693 et seq.

89.   As a result of Defendant’s violations of EFTA and Regulation E, Plaintiff is entitled

      to actual damages pursuant to 15 U.S.C. § 1693m(a)(1); statutory damages in an

      amount up to $1,000.00 pursuant to 15 U.S.C. § 1693m(a)(2)(A); treble damages

      under 15 U.S.C. § 1693f; and, reasonable attorney’s fees and costs pursuant to 15

      U.S.C. § 169m(a)(3) from Defendant.

90.   Electronic funds transfers made by covered entities are subject to procedural

      requirements designed to protect consumers like Plaintiff from transactions made in

      error or without the consumer’s consent.

91.   Defendant failed to provisionally recredit Plaintiff’s bank account for a disputed

      electronic funds transfer and failed to undertake a timely, reasonable, and good faith

      investigation of the disputed amount, as required by the EFTA.

92.   Defendant failed to promptly provide copies of the documentation it relied upon in

      determining that no error had occurred in making these fraudulent transfers from

      Plaintiff’s accounts after he demanded copies of such documents, as required by and


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      in violation of EFTA, which states in relevant part:

             If the financial institution determines after its investigation pursuant to
             subsection (a) or (c) that an error did not occur, it shall deliver or mail to the
             consumer an explanation of its findings within 3 business days after the
             conclusion of its investigation, and upon request of the consumer
             promptly deliver or mail to the consumer reproductions of all
             documents which the financial institution relied on to conclude that such
             error did not occur.

      15 U.S.C. §§ 1693f(d) (bold underline added).

93.   Plaintiff has suffered damages as a result of Defendant’s violations of the EFTA.

94.   Pursuant to 15 U.S.C. § 1693f(e) and 1693m, EFTA and Reg. E, Plaintiff seeks

      statutory damages, actual damages, treble damages, and reasonable costs and

      attorneys’ fees from Defendant.

                                        COUNT II.

                                     CONVERSION

95.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

96.   Under Minnesota law, conversion is defined as an act of willful interference with

      the personal property of another which is without justification or which is

      inconsistent with the rights of the person entitled to the use, possession or ownership

      of the property. Reisdorf v. i3, LLC, D.Minn.2015, 129 F.Supp.3d 751.

97.   The elements of conversion are: “(1) the plaintiff has a property interest; and the

      defendant deprived the plaintiff of that property interest.” Smith v. Lurie, Civil No.

      09-3513 (D. Minn. May 10, 2011) (citing Lassen v. First Bank Eden Prairie, 514

      N.W.2d 831, 838 (Minn. Ct. App. 1994)).


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98.    Plaintiff held a possessory interest in all of the $15,000 of personal funds in

       Plaintiff’s bank accounts held by Defendant.

99.    Plaintiff’s interest in his personal funds was greater than any interest held by

       Defendant.

100.   Defendant deprived Plaintiff of the property interest in his account funds by taking

       these funds without Plaintiff’s authorization and thereafter refusing to return them

       in violation of its obligations under EFTA.

101.   Defendant did not return or offer to return Plaintiff’s personal property that it took

       from his without right, consent or permission, despite lawful demands that had been

       made by Plaintiff to Defendant.

102.   Defendant’s interference with Plaintiff’s property rights in his illegally transferred

       funds, including but not limited to the $15,000, was a substantial one for which he

       has suffered serious damages and actual harm.

103.   Defendant exercised dominion or control over or seriously interfered with Plaintiff’s

       interest in those funds and such conduct deprived Plaintiff of his interest in those

       funds.

104.   The foregoing acts and omissions of Defendant and its employees and agents

       constitute a civil conversion of Claimant’s personal property.

105.   The measure of damages for conversion is “the market value of the property at the

       time of the conversion, plus interest from that time.” Smith, Civil No. 09-3513

       (citing Dairy Farm Leasing Co. v. Haas Livestock Selling Agency, Inc., 458 N.W.2d

       417, 419 (Minn. Ct. App. 1990)).


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106.   As a result of Defendant’s multiple conversions, Plaintiff is entitled to damages in

       an amount based upon the value of the property converted, plus interest from the

       time of Defendant’s conversion.

                                        COUNT III.

                           BREACH OF FIDUCIARY DUTY

107.   Plaintiff and Defendant shared a relationship whereby Plaintiff reposes trust and

       confidence in Defendant, and Defendant undertakes such trust and assumes a duty

       to advise, counsel and/or protect Plaintiff.

108.   Thereafter, Defendant breached its duties to Plaintiff.

109.   Banks owe a customer a fiduciary duty whenever

              “[The] bank knows or has reason to know that the customer is placing his
              trust and confidence in the bank and is relying on the bank so to counsel
              and inform him.” Klein v. First Edina Nat'l Bank, 196 N.W.2d 619, 623
              (Minn.1972); Hurley v. TCF Banking & Sav., F.A., 414 N.W.2d 584, 587
              (Minn.Ct.App.1987) (“Generally, a bank is not in a fiduciary relationship
              with a customer, rather the relationship is one of debtor and creditor.”).

       Kichler v. Wells Fargo Bank, N.A., No. CIV. 12-1206 JRT/AJB, 2013 WL

       4050204, at *4 (D. Minn. Aug. 9, 2013).

110.   Defendant knew or should have known that Plaintiff was reasonably placing his

       trust and confidence in its fraud department employees to not only detect fraudulent

       electronic funds transfer activities on his account, but to stop that fraud and protect

       his funds from third-party fraudsters once they called to alert him of the fraud.

111.   Defendant knew or should have known that Plaintiff was reasonably relying upon

       Defendant to counsel and inform him of the fraudulent transfers activities on his



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       accounts.

112.   Once Defendant detected fraudulent activity on Plaintiff’s accounts and which it

       alerted him to, Defendant thereafter breached its fiduciary duties to Plaintiff to shut

       down the accounts, stop the fraudulent and unauthorized transfers under the EFTA,

       and return Plaintiff’s funds promptly to his accounts.

113.   Defendant’s breach has caused Plaintiff to suffer serious damages, including but not

       limited to the loss of his $15,000.

                                        COUNT IV.

                                      NEGLIGENCE

114.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

115.   The foregoing acts and omissions of Defendant and its agents constitute negligence

       with respect to Plaintiff.

116.   As a result of Defendant’s negligence, Plaintiff is entitled to actual damages and

       reasonable attorney’s fees and costs pursuant to Minnesota Law, from Defendant.

                                        COUNT V.

                               BREACH OF CONTRACT

117.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

118.   Plaintiff had a contract in the form of an offer by Defendant to provide banking

       services, and acceptance by Plaintiff of that offer, and consideration exchanged

       between the parties.


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119.   The foregoing acts and omissions of Defendant and its agents constitute breach of

       contract with respect to Plaintiff, namely, its failure to properly safeguard his funds

       and comply with federal law in promptly returning those funds that were

       fraudulently transferred.

120.   As a result of Defendant’s breach of contract, Plaintiff is entitled to actual damages

       and reasonable attorney’s fees and costs pursuant to Minnesota Law, from

       Defendant.

                                        COUNT VI.

                 BREACH OF GOOD FAITH AND FAIR DEALING

121.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

122.   Defendant had a duty to act in good faith by properly maintaining Plaintiff’s bank

       accounts and protecting them from unauthorized transfers.

123.   Defendant negligently failed in these duties and failed to maintain any reasonable

       systems that would have prevented such failures against Plaintiff.

124.   Defendant breached its duty to act in good faith by intentionally failing to comply

       with federal laws governing the prompt return of Plaintiff’s funds and the

       undertaking of a good faith investigation into the unauthorized transfers for those

       funds.

125.   Plaintiff has been seriously damaged by Defendant’s multiple breaches of good faith

       and fair dealing in this Contract and is entitled to actual damages, compensatory

       damages, expectancy damages, costs and attorney’s fees.


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                                        COUNT VII.

                                DECLARATORY RELIEF

126.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

127.   An actual controversy has arisen and now exists between Plaintiff and Defendant

       concerning their respective rights and duties in that Plaintiff contends that

       Defendant breached its contract with Plaintiff and violated federal laws with respect

       to failing to promptly return his $15,000; and, whereas Defendant apparently

       disputes this contention and by its conduct contends that it had no duties to Plaintiff

       and that Plaintiff is not entitled to a return of his fraudulently transferred $15,000.

128.   Plaintiff desires a judicial determination of Defendant’s rights and duties, and if they

       so exist, the extent of the liability of Plaintiff to Defendant, if any, and vice versa.

129.   A judicial declaration is necessary and appropriate at this time under the

       circumstances in order that Plaintiff may ascertain Plaintiff’s rights and duties

       because Plaintiff’s personal business affairs are seriously impaired by and

       Defendant’s contentions that he is not entitled to a return of his funds, and Plaintiff

       is otherwise suffering a financial burden by this unsettled state of affairs with this

       Defendant.

130.   Declaratory relief is therefore appropriate in order to bring peace to the parties and

       prevent either of Defendant from causing further unwarranted and unjust damage to

       Plaintiff.




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                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

• For a judgment and decree that Defendant has engaged in the conduct alleged

   above, entering Judgment in favor of Plaintiff;

• for an award of actual damages pursuant to 15 U.S.C. § 1693m(a)(1) against

   Defendant and for Plaintiff;

• for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

   §1693m(a)(2)(A) against Defendant and for Plaintiff;

• for an award of treble damages pursuant to 15 U.S.C. §1693f(e) against

   Defendant and for Plaintiff;

• for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

   U.S.C. § 1692m(a)(3) against Defendant and for Plaintiff;

• for an award of actual damages, compensatory damages, expectancy damages,

   in an amount based upon the value of the property converted, plus interest from

   the time of Defendant’s conversion, with interest on such amount as allowed by

   law until paid for Defendant’s conversion;

• for an award of actual, compensatory, and expectancy damages against

   Defendant for its breach of fiduciary duty;

• for actual and compensatory damages for Negligence in a reasonable amount to

   be determined by a jury, against Defendant;




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     • for actual and compensatory damages for Breach of Fiduciary Duty in a

        reasonable amount to be determined by a jury, against Defendant;

     • for actual and compensatory damages, expectancy damages, costs of litigation

        and attorney’s fees for Breach of Contract in a reasonable amount to be

        determined by a jury, against Defendant;

     • for actual and compensatory damages, expectancy damages, costs of litigation

        and attorney’s fees for Breach of Good Faith and Fair Dealing in a reasonable

        amount to be determined by a jury, against Defendant;

     • for a judgment and decree and decree that Defendant has engaged in the conduct

        alleged above, entering Judgment in favor of Plaintiff, and making a judicial

        determination that Plaintiff’s $15,000 in funds should be returned;

     • for an award of both pre- and post-judgment interest at the maximum allowable

        rate on any amounts awarded;

     • and for such other and further relief as may be just and proper.


                                            Respectfully submitted,

                                            THE BARRY LAW OFFICE, LTD

Dated: November 30, 2021                    By: s/ Peter F. Barry
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                                            pbarry@lawpoint.com

                                            Attorney for Plaintiff



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NOTICE TO PRESERVE ALL DOCUMENTS, RECORDINGS, AND TANGIBLE
THINGS, AND ALL ELECTRONICALLY STORED INFORMATION (“Notice”)


To the Defendant(s) Above:

As you know, this law firm has been retained to represent the Plaintiff in the above
captioned matter (“Lawsuit”). As used in this notice, the terms “you” and “your” refer
to the Defendant(s) above-named and their predecessors, successors, parents, subsidiaries,
divisions and affiliates and its respective officers, directors, agents, attorneys, accounts,
employees, partners, contractors and other persons occupying similar positions or
performing any functions on behalf of Defendant.

My client respectfully demands that you preserve all recordings, documents, tangible
things and electronically stored information that are in anyway relevant to the
Lawsuit. A civil suit has been commenced against you by my client in the District Court
herein, related to the matters described herein.

You have a legal duty to preserve evidence in this matter. This duty to preserve
evidence exists not only after the formal commencement of litigation, but whenever a party
knows or should know that litigation is reasonably foreseeable. The Minnesota Supreme
Court has specifically addressed this issue:

       We have said that the spoliation of evidence is the “failure to preserve
       property for another's use as evidence in pending or future
       litigation.” Federated Mut. Ins. Co. v. Litchfield Precision Components,
       Inc., 456 N.W.2d 434, 436 (Minn.1990) (quoting County of Solano v.
       Delancy, 264 Cal.Rptr. 721, 724 n. 4 (Cal.Ct.App.1989)). Further, we have
       recognized that, regardless of whether a party acted in good or bad faith, “the
       affirmative destruction of evidence has not been condoned.” Patton, 538
       N.W.2d at 119. The duty to preserve evidence2 exists not only after the
       formal commencement of litigation, but whenever a party knows or should
       know that litigation is reasonably foreseeable. See id. at 118–19. Breach of
       the duty to preserve evidence once such a duty arises may be sanctioned,
       under a court's inherent authority, as spoliation. See id. at 118. Here, we
       specifically reaffirm our rule that custodial parties have a duty to preserve
       relevant evidence for use in litigation. Id. at 116. We also reaffirm our
       previously stated rule that, even when a breach of the duty to preserve
       evidence is not done in bad faith, the district court must attempt to remedy
       any prejudice that occurs as a result of the destruction of the evidence. Id.

Miller v. Lankow, 801 N.W.2d 120, 127–28 (Minn. 2011)



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Once a duty to preserve evidence has arisen, the breach of that duty may subject a
party to sanctions under a court's inherent authority as spoliation. "Courts have long
afforded redress for the destruction of evidence * * *." Federated Mut. Ins. Co. v. Litchfield
Precision Components, Inc., 456 N.W.2d 434, 436 (Minn.1990).

Much of the information that is subject to disclosure or responsive to discovery in this
case may be stored on your current and former computer systems and other media
and devices, including personal digital assistants, voice messaging systems, online
repositories, telephone recording systems, hard drives and cell phones. The term
Electronically Stored Information (hereinafter “ESI”) should be afforded the broadest
possible meaning and includes (by way of example and not as an exclusive list) potentially
relevant information electronically, digitally, magnetically, optically or otherwise stored
as:

        • Audio and/or video records of any telephone calls and conversations
          made related to the events described in the Lawsuit
        • digital communications (for example email, voicemail, imaging,
          scanning, and/or instant messaging);
        • email service stores and server information (for example SQL Server,
          Oracle, Dropbox, Box, lotus, domino.nsf, Microsoft exchange.edb,
          Google Corporate Gmail, etc.);
        • word processing documents (for example Microsoft Word or
          WordPerfect files and all drafts thereof);
        • spreadsheets and tables;
        • accounting application data;
        • imaging and facsimile files;
        • recordings of any conversations with my client;
        • phone records of any calls to my client;
        • databases (for example Access, Oracle, SQL Server data);
        • Contact and relationship data management (for example Outlook, Ask or
          Interaction);
        • Calendar and diary application data;
        • online access data (for example temporary internet files, history files and
          cookies);
        • presentations (for example PowerPoint and Corel presentations);
        • network access and server activity logs relating to information exchanged
          between you and third parties, and by you with third parties;
        • project management application data;
        • backup and archival files;
        • letters, documents, or correspondence of whatever kind related to existing
          loss prevention policies, and changes, updates, alterations made to loss
          prevention policies for the past three (3) years


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My client hereby demands that you preserve both accessible and inaccessible ESI.
This demand is reasonable and necessary. Pursuant to the Rules of Civil Procedure, in the
event of an eventual civil suit you must identify all sources of ESI you decline to produce
and demonstrate why such sources are not reasonably accessible. For good cause shown
in that event, the Court may order production of ESI even if it is not reasonably accessible.
Accordingly, you must preserve ESI that you deem inaccessible so as not to preempt the
Court’s authority.

Preservation requires your immediate intervention. You must act immediately to
preserve potentially relevant ESI, including, without limitation, information and the earlier
of a created or last modified date for ESI concerning any activity, updates, changes,
alterations, or modifications to the information maintained by you related to the events
described in the above-referenced lawsuit, through the date of this demand. Adequate
preservation of ESI requires more than simply refraining from efforts to destroy or dispose
of such evidence. You must immediately intervene to prevent loss due to routine
operations or malfeasance and employ proper techniques and protocols to preserve ESI.
Booting a drive, examining its contents or running any application may irretrievably alter
the evidence contained therein and constitute spoliation of evidence.

You are also directed to immediately initiate a litigation hold for potentially relevant
ESI, documents and tangible things, and to act diligently and in good faith to secure
and audit compliance with that litigation hold. You are further directed to immediately
identify and modify or suspend features of your information systems and devices, which,
in routine operation, operate to cause the loss of potentially relevant ESI. Examples of
such features and operations that could result in spoliation include:

          • purging the contents of email repositories by age, capacity or any other
            criteria
          • using data or media wiping, disposal, erasure of encryption utilities or
            devices
          • overriding erasing, destroying or discarding backup media
          • reassigning, re-imaging or deposing of systems, servers, devices or media
          • running antivirus or other programs affecting wholesale metadata alteration
          • releasing or purging online storage repositories
          • using metadata stripper utilities
          • disabling server, packet or local instant messaging login
          • executing drive or file defragmentation or compression programs
          • shredding or other destruction of documents, routine or otherwise

You should anticipate that your officers, employees, or others may seek to hide,
destroy or alter ESI. This is not a concern that is unique to you or your organization.



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Rather it is simply conduct that occurs with such regularity that any custodian of ESI and
their counsel must anticipate and guard against its occurrence. You are directed to preserve
complete backup tape sets (including differentials and incrementals) containing recordings,
emails and ESI for any person involved in the activity, updates, changes, alterations, or
modifications to the information maintained by you related to the events described in the
above-referenced lawsuit, through the date of this demand, whether inside or outside of
your organization and control. You should also take affirmative steps to prevent anyone
with access to your data, systems or archives from seeking to modify destroy or hide ESI.

As an appropriate and cost-effective means of preservation, you should remove from
service and securely sequester the systems, media and devices housing potentially
relevant ESI. In the event that you deem it impractical to sequester those systems, we
believe that the breadth of preservation required, coupled with the modest number of
systems implicated, dictates that forensically sound imaging of the systems identified
above is expedient and cost effective. As we anticipate the need for forensic examination
of one or more of the systems and the presence of relevant evidence in forensically
accessible areas of the drives, we demand that you employ forensically sound ESI
preservation methods. Failure to use such methods imposes a significant threat of
spoliation and data loss. Be advised that a conventional copy, backup or ghosting of a hard
drive does not produce a forensically sound image because it only captures active, unlocked
data files and fails to preserve forensically significant data.

You should anticipate that certain ESI, including but not limited to recordings,
spreadsheets and databases will be sought in the forms or form in which it was
ordinarily maintained, that is in native form. Accordingly, you should preserve ESI in
such native forms and should not employ methods to preserve ESI that remove or degrade
the ability to search ESI by electronic means or that make it difficult or burdensome to use
that information.

You should further anticipate the need to disclose and produce system and
application metadata and act to preserve it. System metadata is information describing
the history and characteristics of other ESI. This information is typically associated with
tracking or managing an electronic file and often includes data reflecting a file’s name,
size, custodian, location and dates of creation and last modification or access. Metadata
may be overwritten or corrupted by careless handling or improper preservation, including
by moving, copying or examining the contents of files. As hard copies do not preserve
electronic search ability or metadata, they are not an adequate substitute for, or cumulative
of, electronically stored versions. If information exists in both electronic and paper forms,
you should preserve both the forms.

We desire to work with you to agree upon an acceptable protocol for forensically
sound preservation and can supply a suitable protocol if you will furnish an inventory
and description of the systems and media to be preserved. Alternatively, if you


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promptly disclose the preservation protocol you intend to employ, perhaps we can now
identify any points of disagreement and resolve them.

A successful and compliant ESI preservation effort requires expertise. If you do not
currently have such expertise, we urge you to engage the services of an expert in electronic
evidence and computer forensics. Perhaps our respective experts can work cooperatively
to secure a balance between evidence preservation and burden that is fair to both sides and
acceptable to the Court. I am available to discuss reasonable preservation steps; however,
you should not defer preservation steps pending such discussions if ESI may be lost or
corrupted as a consequence of delay. Should your failure to preserve potentially relevant
evidence result in the corruption, loss or delay of production of evidence to which we are
entitled, that failure would constitute spoliation of evidence.

Please confirm in writing no later than five (5) business days from the date of this
Notice, that you have taken the steps outlined in this Notice to preserve ESI and
tangible documents potentially relevant to this pending action. If you have not
undertaken the steps outlined above, or have taken other actions, please describe what you
have done to preserve potentially relevant evidence.

If you retain legal counsel with respect to these matters, please direct this Notice to their
immediate attention. Thank you for your anticipated cooperation in this vital matter.




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